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Attorneys for Plaintiff


                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                  ) No. 3:21-cr-00062-JMK -MMS
                                             )
                          Plaintiff,         ) COUNT 1:
                                             ) CYBERSTALKING
          vs.                                ) Vio. of 18 U.S.C. §§ 2261A(2)(A) and
                                             ) (B), 2261(b)(6)
  ROLANDO HERNANDEZ-                         )
  ZAMORA,                                    )
                                             )
                          Defendant.         )
                                             )

           F I R S T      S U P E R S E D I N G       I N D I C T M E N T

       The Grand Jury charges that:

                                        COUNT 1

       Beginning in about May 2016, the exact date being unknown, and continuing

through May 29, 2020, within the District of Alaska and elsewhere, with the intent to kill,



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injure, harass, intimidate, and place under surveillance with intent to kill, injure, harass,

and intimidate another person, the defendant, ROLANDO HERNANDEZ-ZAMORA,

used any interactive computer service and electronic communication service and electronic

communication system of interstate commerce, and any other facility of interstate and

foreign commerce, to engage in a course of conduct that placed that person in reasonable

fear of the death of and serious bodily injury to that person and caused, attempted to cause,

and would be reasonably expected to cause substantial emotional distress to that person.

The defendant committed this offense in violation of a protective order.

       All of which is in violation of 18 U.S.C. §§ 2261A(2)(A) and (B), 2261(b)(6).

       A TRUE BILL.


                                          s/ Grand Jury Foreperson
                                          GRAND JURY FOREPERSON



s/ Jennifer Ivers
JENNIFER IVERS
Assistant U.S. Attorney
United States of America



s/ Christina Sherman for
E. BRYAN WILSON
Acting United States Attorney
United States of America


DATE:      November 17, 2021


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